

Silverstein v Pillersdorf (2021 NY Slip Op 06461)





Silverstein v Pillersdorf


2021 NY Slip Op 06461


Decided on November 18, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 18, 2021

Before: Webber, J.P., Kern, González, Mendez, Shulman, JJ. 


Index No. 100148/19 Appeal No. 14635 Case No. 2020-03563 

[*1]Barbara Silverstein, Plaintiff-Appellant,
vGary S. Pillersdorf, etc., et al., Defendants-Respondents.


Barbara Silverstein, New York, appellant pro se.
Kaufman Dolowich &amp; Voluck, LLP, New York (Anthony J. Proscia of counsel), for respondents.



Order, Supreme Court, New York County (James E. d'Auguste, J.), entered March 5, 2020, which granted defendants' motion to dismiss the complaint, and denied plaintiff's cross motion for, among other things, leave to amend the complaint, unanimously affirmed, without costs.
Plaintiff's legal malpractice complaint was properly dismissed in accordance with CPLR 3211(a)(7) for failure to state a cause of action. Even accepting plaintiff's allegations as true, the complaint contains no nonconclusory allegations suggesting that any negligence by defendants in their handling of the medical malpractice trial was the "but for" cause of plaintiff to sustain actual and ascertainable damages (see Rudolf v Shayne, Dachs, Stanisci, Corker &amp; Sauer, 8 NY3d 438, 442 [2007]). Given plaintiff's conclusory allegations regarding causation, leave to amend was properly denied as futile.
In light of the foregoing, this Court need not reach plaintiff's remaining arguments.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 18, 2021








